Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 1 of 22

B 6 Summary (Official Form 6 - Summary) (12/13)

United States Bankruptcy Court
Southern District of Florida

In re Juana Marquez Case No. 14-14846
Debtor

 

Chapter. 13

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schédule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.

Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

 

  
     
   

 

  

 

 

 

 

 

 

 

 

 

  
 

 

 

  

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES
(YES/NO) | SHEETS
A - Real Property Yes 1 173,421.00
B - Personal Property Yes 4
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Claims Yes 1
E - Creditors Holding Unsecured Yes 1
Priority Claims (Total of Claims on Schedule 2)
F - Creditors Holding Unsecured Yes 6
Nonpriority Claims
G - Executory Contracts and Yes “4
_ Unexpired Leases
H - Codebtors Yes 1
I- Current Income of Individual . Yes . 2 1,642.67
Debtor(s)
J - Current Expenditures of Individual Yes ‘ 1,685.00
Debtor(s)

 

 

Total Number of Sheets of ALL Schedules

 

  
  

Total Assets

   
 

Total Liabilities 380,391.00

 

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Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 2 of 22

B 6 Summary (Official Form 6 - Summary) (12/13)

United States Bankruptcy Court
Southern District of Florida

In re Juana Marquez Case No. 14-14846
7 , Debtor ©

 

Chapter. 13

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
a case under chapter 7, 11 or 13, you must report all information requested below.

1 Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of Liability : Amount
Domestic Support Obligations (from Schedule E) 0.00
Taxes and Certain Other Debts Owed to Governmental Units 0.00
(from Schedule E) .
Claims for Death or Personal Injury While Debtor Was Intoxicated 0:00
(from Schedule E) (whether disputed or undisputed) .
Student Loan Obligations (from Schedule F) : 0.00
Domestic Support, Separation Agreement, and Divorce Decree 0.00
Obligations Not Reported'on Schedule E .
Obligations to Pension or Profit-Sharing, and Other Similar Obligations 0.00
(from Schedule F) .
TOTAL 0.00
State the following:
: Average Income (from Schedule I, Line 12) , 1,642.67
Average Expensés (from. Schedule J, Line 22) 1,685.00
Current Monthly Income (from Form 22A Line 12; OR, 0
Form 22B Line 11; OR, Form 22C Line 20 ) 1,189.0
State the following:
. cree - Z
1. Total from Schedule D,'"UNSECURED PORTION, IF ANY" :
column : i 201,995.00
‘ 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"

i column

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column
1

 

4,975.00

1 , 1
i !

4. Total from Schedule F

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4) | , 206,970.00
;

 

 

 

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Case 14-14846-RAM. Doc 17 Filed 03/28/14 Page 3 of 22

B6A (Official Form 6A) (12/07)

In re Juana Marquez Case No. 14-14846
Debtor

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases. ,

__ Ifan entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

 

 

 

Husband. reuirent Value of
ae . Nature of Debtor's Wife, , eotor's interest 1 Amount of
Description and Location of Property Interest in Property Joint, or D ennperty, without d Secured Claim
Community ucting any Secure
Claim or Exemption
3139 SW 25th Street . 173,421.00 375,416.00
Coconut Grove, FI 33133
aka Lot 26 and the south 20 feet of Lot 7, Block 4
of the Pines according to the Plat thereof as
recorded in
in Plat Book 5 page 76 of the Public Records of
Miami Dade County, Florida
Sub-Total > 173,421.00 (Total of this page)

Total > 173,421.00
——— continuation sheets attached to the Schedul of Real Froperty (Report also on Summary of Schedules)

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Case 14-14846-RAM Doc 17 Filed 03/28/14 Page 4 of 22

B6B (Official Form 6B) (12/07)

In re Juana Marquez \ ; Case No. 14-14846
ae Debtor

 

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

 

N Husband, 7 Current Value of
+e : ife, Debtor's Interest in Property,
Type of Property N Description and Location of Property Joint, or without Deducting oy
E Community Secured Claim or Exemption
1. Cash on hand Xx
2. Checking, savings or other financial Chase Checking *********"""""9256 - 288.00
accounts, certificates of deposit, or ,
shares in banks, savings and loan, eeKAHKEIIEIE_IOS Chase account - 3,828.00
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.
3. Security deposits with public - x
utilities, telephone companies, ;
landlords, and others.
4. Household goods and furnishings, Couches 40 . ; - 360.00
including audio, video, and TV 50
computer equipment. - Table 20
Chair 15
Bed 35
Dresser 40
} Chest of Drawers 30
Mirror 10
Microwave 20
Refridgerator 50
. Stove 30
Dishes & Cookware 20
5. Books, pictures and other art X
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.
6. Wearing apparel. Clothes - 50.00
7, Furs and jewelry. Jewlerey ct -— 300.00

8. Firearms and sports, photographic, X
and other hobby equipment.

 

wi ie} . Sub-Total > 4,826.00
> (Total of this page)

:ty__3__ continuation sheets attached to the Schedule of Personal Property

a

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Case 14-14846-RAM Doc 17 Filed 03/28/14 Page 5 of 22

B6B (Official Form 6B) (12/07) - Cont.

 

Inre Juana Marquez — . Case No. 14-14846
a Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of

 

N
Type of Property 0 . Description and Location of Property Wwite, or Debtor's Interest dine oe
E Community Secured Claim or Exemption
9. Interests in insurance policies. X
Name insurance company of each
policy and itemize surrender or
refund: value of each.
10. Annuities. Itemize and name each X
issuer.
11. Interests in an education IRA as X

defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).

11 U.S.C. § 521(¢).)

12. Interests in IRA, ERISA, Keogh, or Xx
other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorporated Xx
"and unincorporated businesses.
Ttemize.
14. Interests in partnerships or joint X

ventures. Itemize.

15. Government and corporate bonds x
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable. X

17. Alimony, maintenance, support,and X
property settlements to which the -
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to debtor .X . ae oy
including tax refunds. Give particulars. :

19. Equitable or future interests, life xX
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

 

tf ny . Sub-Total > 0.00
) (Total of this page)

Sheet 1. of _3__ continuation sheets attached

to the Schedule of Personal Property

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Case 14-14846-RAM Doc17 Filed 03/28/14 Page 6 of 22

B6B (Official Form 6B) (12/07) - Cont.

In re Juana Marquez : ‘ , Case No. ___14-14846
Debtor

 

SCHEDULE .B - PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any
‘Community Secured Claim or Exemption

Type of Property Description and Location of Property

 

x | mMAOZ

20. Contingent and noncontingent
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated X
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

22. Patents, copyrights, and other X
intellectual property. Give
particulars.

23. Licenses, franchises, and other xX
general intangibles. Give
particulars.

24, Customer lists or other compilations X
containing personally identifiable
information (as defined in 11 U.S.C.

§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.

25. Automobiles, trucks, trailers, and Xx
other vehicles and accessories.

26. Boats, motors, and accessories. X
27. Aircraft and accessories. .

28. Office equipment, furnishings, an . x. ,
supplies.

29. Machinery, fixtures, equipment, and  X
supplies used in business. ‘

30. Inventory. x
31. Animals.

32. Crops - growing or harvested. Give
particulars,

33. Farming equipment and X
implements.

 

boviosab> oor) . Sub-Total > 0.00
oo) (Total of this page)

Sheet 2 of _3__ continuation sheets attached

to the Schedule of Personal Property

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Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 7 of 22

B6B (Official Form 6B) (12/07) - Cont.

 

Tn re Juana Marquez ; : Case No. 14-14846
Se Debtor

‘SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

 

 

N Husband, Current Value of
Type of Property 0 Description and Location of Property 1 os or Debtor's Interest cfing oa
E Community Secured Claim or Exemption
34, Farm supplies, chemicals, and feed. X
35, Other personal property of any kind X
_ not already listed. Itemize.
ct LD oo) . Sub-Total > 0.00
a (Total of this page)
: Boo OY Total > 4,826.00

Sheet __3__ of _3 continuation sheets attached
to the Schedule of Personal Property 2... Shera Thesseny ei eee (Report also on Summary’ of Schedules)

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Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 8 of 22

B6C (Official Form 6C) (4/13)

In re Juana Marquez Case No. 14-14846
Debtor

 

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: (J Check if debtor claims a homestead exemption that exceeds
(Check one box) $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
1 11 U.S.C. §522(b\(2) with respect to cases commenced on or after the date of adjustment.)

M 11 U.S.C. §522(b)(3)

 

“ps oa: Value of
Description of Property See rouding Claimed Property Wihout
Exemption Deducting Exemption

 

Real Property
3139 SW 25th Street Fla. Const. art. X, § 4(a)(1); Fla. Stat. 0.00 173,421.00
Coconut Grove, FI 33133 Ann. §§ 222.01 & 222.02

aka Lot 26 and the south 20 feet of Lot 7, Block

of the Pines according to the Plat thereof as
recorded in

in Plat Book 5 page 76 of the Public Records of
Miami Dade County, Florida

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Chase Checking **************9256 Fla. Const. art. X, § 4(a)(2) 288.00 288.00

Household Goods and Furnishings
Couches 40 Fla. Const. art. X, § 4(a)(2) 360.00 360.00

TV 50

Table 20

Chair 15

Bed 35

Dresser 40

Chest of Drawers 30 .
Mirror 10

Microwave 20
Refridgerator 50
Stove 30

Dishes & Cookware 20

Wearing Apparel
Clothes Fla. Const. art. X, § 4(a)(2) 50.00 50.00

 

Total: . 698.00 174,119.00
O__ continuation sheets attached to Schedule of Property Claimed as Exempt

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Case 14-14846-RAM Doc17 Filed 03/28/14 Page 9 of 22

B6D (Official Form 6D) (12/07)

In re Juana Marquez Case No. 14-14846
Debtor

 

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided. :

If any entity other than a spouse in a joint case miay be jointly liable on a claim, place an "X" in the column labeled "Codebtor" include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community". ,

If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and “Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.

[J Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘C | Husband, Wife, Joint, or Community c)uyoD AMOUNT OF
CREDITOR'S NAME ° O; NII
AND MAILING ADDRESS Dl H DATE CLAIM WAS INCURRED, NIL] s WITHOOT UNSECURED
+ B| Ww NATURE OF LIEN, AND | U PORTI IF
INCLUDING ZIP CODE, tly DESCRIPTION AND VALUE Ju; t|  DEDUCTING AY
(See instructions above) gfe OF PROPERTY £/b|5| COLLATERAL
structions above. SUBJECT TO LIEN NIA
Account No. 3139 SW 25th Street "IE
: Coconut Grove, Fl 33133 D
a a . aka Lot 26 and the south 20 feet of Lot 7,
Wells Fargo Bank, N.A.  - Block 4
3563 Phillips Highway, of the Pines according to the Plat
Building D thereof as recorded in ;
’ « |in Plat Book 5 page 76 of the Public
Hollywood, FL 33027 Records of
Value $ | 473,421.00 375,416.00 201,995.00
Account No.
Value $
Account No. oo
Value $ :
Account No.. ae
| |
Value $
D4 : , Subtotal
© continuation sheets attached | ; be | eds , 375,416.00 201,995.00
—_— : (Total of this page)
ae Seg cen Total 375,416.00 201,995.00
ue sa PM Po ; (Repdrt on Summary of Schedules)

 

 

 

 

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B6E (Official Form 6E) (4/13)

In re Juana Marquez Case No. 14-14846
Debtor

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

' A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
to priority should be listed in. this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate

. continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
‘so. Ifa minor child is a.creditor, state the child's-initials and the name-and address of the-child's parent or guardian, such as "A.B., a-minor child; by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(in). .

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
"Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
"Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules. .

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
also on the Statistical Summary of Certain Liabilities and Related Data. :

Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data. .

Wi Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

C] Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

OO Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. 11 U.S.C. § 507(a)(3).

OO Wages, salaries, and commissions .

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a)(4). .

(1 Contributions to employee benefit plans ;

Money. owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,

whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5). . .
CO Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

C1 Deposits by individuals

Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not ,
delivered or provided. 11 U.S.C. § 507(a)(7).

[] Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

C Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9). .

C Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance, 11 U.S.C. § 507(a)(10).

* Amount subjéct to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

i i) continuation sheets attached

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B6F (Official Form 6F) (12/07)

In re Juana Marquez

Case No.

 

Debtor

14-14846

- SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

_ Ifany entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CREDITOR'S NAME, § Husband, Wife, Joint, or Community § U p
INCLUDING ZIP CODE, Sl) cORATECKATICWAS INCURRED AND [Lalo
AND ACCOUNT NUMBER Ts IS SUBJECT TO SETOFF, SO STATE. N|U|T | AMOUNT OF CLAIM
(See instructions above.) Ric SLE
NIA
Account No. XXXXXXXXXXXX1499 Opened 6/01/93 Last Active 12/28/11 T E
Credit Card D
Bank Of America
Attention: Recovery Department "
4161 Peidmont Pkwy.
Greensboro, NC 27410
1,923.00
Account No. XXXXXXXXXXxx4348 Opened 3/14/07 Last Active 1/08/08
Credit Card
Chase
P.o. Box 15298 -
Wilmington, DE 19850
0.00
Account No. XXXXXXXXXXXX1860 Opened 9/01/99 Last Active 11/12/06
. Credit Card
Chase
P.o. Box 15298 -
Wilmington, DE 19850
0.00
“Account No, -XXXXXXXXXX2302 Opened 5/01/01 Last Active 3/28/06
Automobile ,
Chase Auto
Attn:National Bankruptcy Dept -
Po Box 29505
Phoenix, AZ 85038
0.00
Subtotal
5 _ continuation sheets attached . (Total of ‘his nage) 1,923.00

 

 

 

SI/N:32395-140314 Best Case Bankruptcy
Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 12 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Juana Marquez

Case No.

 

Debtor

14-14846

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CREDITOR'S N AME . c Husband, Wife, Joint, or Community g u D
: D nit|s
INCLUDING ZIP CODE 5] coRABECKAIM WAS INCURRED AND, la|t
AND ACCOUNT NUMBER oly IS SUBJECT TO SETOFF, SO STATE. G(r |e | AMOUNT OF CLAIM
(See instructions above.) R Elplo
NIA
Account No. XXXXXXXXXXXX9147 Opened 8/29/00 Last Active 9/05/07 THE
Credit Card D
Chase Mht Bk
Attention: Bankruptcy .
Po Box 15298
Wilmington, DE 19850
0.00
Account No. XXXXXXxxx7254 Opened 5/01/91 Last Active 8/27/02
Credit Card
Citi
Po Box 6241 -
Sioux Falls, SD 57117
0.00
Account No. XXXXXXXXXXXX6731 Opened 6/25/02 Last Active 7/09/09
Charge Account
Citibank Usa |
Citicorp Credit -
Services/Attn:Centralize
Po Box 20507
Kansas City, MO 64195 0.00
Account No. XXXXXXXXXXXX4191 Opened 9/01/94 Last Active 3/21/05
Credit Card
Discover Fin Svcs Lic
Pob 15316 -
Wilmington, DE 19850
0.00
- | Account No. -xxxxxxxxx6720. Opened 5/01/07 Last Active 6/25/07.
Charge Account
Dsnb Macys
9111 Duke Blvd >
Mason, OH 45040
0.00
Sheet no. 1 of 5 __ sheets.attached to Schedule of Subtotal 0.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) .

 

Best Case Bankruptcy

 
Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 13 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Juana Marquez

Case No.

 

Debtor

14-14846

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

os CREDITOR'S NAME, : g Husband, Wife, Joint, or Community g u p
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(See instructions above.) R E|D]D
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Charge Account D
GECRB/ Dillards
Attn: Bankruptcy -
Po Box 103104
Roswell, GA 30076
0.00
Account No. XXxxxxxxx0508 Opened 11/01/02 Last Active 9/01/07
on Charge Account
Geerb/brandsmart
Clo Po Box 965036 .
Orlando, FL 32896
0.00
Account No: XXXXXXXXXXXxx6891 Opened 11/24/02 Last Active 3/20/06
Charge Account
Gecrb/brandsmart
Clo Po Box 965036 -
Orlando, FL 32896
0.00
Account No. xxxxx9034 Opened 2/01/97 Last Active 3/28/97 _
° Charge Account
Gecrb/ge Capital Card
Po Box 981439 .
El Paso, TX 79998
, 0.00
Account No. XxxXxXxXXXXXxXxXx2200 Opened 7/01/03 Last Active 11/22/03 -
Charge Account
Hsbc/bsbuy
Po Box 5253 “
Carol Stream, IL 60197
0.00
Sheetno. 2 of _§ sheets attached to Schedule of Subtotal 0.00
Creditors Holding Unsecured Nonpriority Claims ,

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(Total of this page)

 

 

Best Case Bankruptcy

 
Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 14 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Juana Marquez

Case No.

 

SCHEDULE F - CREDITORS HO

Debtor

(Continuation Sheet)

14-14846

LDING UNSECURED NONPRIORITY CLAIMS

 

Husband, Wife, Joint, or Community

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CREDITOR'S NAME, 18 olin te
D NIL
MAILING ADDRESS e|t DATE CLAIM WAS INCURRED AND T{t]e
AND ACCOUNT NUMBER fF; | CONSIDERATION FOR CLAIM, IF CLAIM |\./$|¥] amount oF CLAIM
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(See instructions above.) R Elplb
NIA
Account No. xxxxxx9242 Opened 3/01/13 T E
Factoring Company Account Citibank South D
Midiand Funding Dakota N.A.
8875 Aero Dr Ste 200 -
San Diego, CA 92123
3,017.00
Account No. xxxxx4501 Opened 5/01/08
_ ; Collection Attorney Sheridan Er Phys Of South
Nrs/receivia Dade
2810 Walker Rd “
Chattanooga, TN 37421
. 35.00
Account No. xxxx7961 Opened 8/01/89 Last Active 12/07/98
Charge Account
Sears/cbna
Po Box 6189 -
Sioux Falls, SD 57117
0.00
| Account No. XXXXXXXXXXXxX1904 Opened 8/01/94 Last Active 9/01/10
Credit Card
Sears/cbna
Po Box 6282 -
Sioux Falls, SD 57117
: 0.00
~ {Account No. -xxxx8800 Opened 5/01/03 Last Active 3/15/04
Credit Card :
State Farm Financial S
Po Box 2328 -
Bloomington, IL. 61702
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Sheetno. 3 of § __ sheets attached to Schedule of Subtotal 3 052 00
Creditors Holding Unsecured Nonpriority Claims - (Total of this page) uo

 

Best Case Bankruptcy

 
Case 14-14846-RAM Doc17 Filed 03/28/14 Page 15 of 22

BOF (Official Form 6F) (12/07) - Cont.

In re Juana Marquez

Case No.

 

Debtor

14-14846

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDIT OR'S N AME ‘ gc Husband, Wife, Joint, or Conimunity g U D
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AND ACCOUNT NUMBER ole IS SUBJECT TO SETOFF, SO STATE. Gg] fe | AMOUNT OF CLAIM
(See instructions above.) R E|DID
NIA
Account No. XXXXXXXXXXXX3038 Opened 1/20/01 Last Active 7/01/09 ae
Credit Card D
Target N.b.
Po Box 673 -
Minneapolis, MN 55440
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Account No. xxxxx6557 Opened 1/20/01 Last Active 2/06/05
” Charge Account
Tnb - Target
Po Box 673 ”
Minneapolis, MN 55440
0.00
Account No. XxxxXXXXXXXxX8286 Opened 5/01/07 Last Active 7/03/08
Credit Card
Visa Dept. Stores
Attn: Bankruptcy -
Po Box 8053
Mason, OH 45040
; 0.00
Account No. XxxXXXXxxXxXxx4953 Opened 3/01/06 Last Active 5/13/08
— : Real Estate Specific
Wachirec
Po Box 50014 -
Roanoke, VA 24040
0.00
-| Account No. xxxXxxxxxXxxxx2524 Opened 5/01/04 Last Active 2/22/06
Credit Line Secured
Wachoviftu/Wells Fargo
Po Box 31557 -
Mac B6955-01b
Billings, MT 59107
0.00
Sheet no. 4 of 5 sheets attached to Schedule of Subtotal 0.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) :
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Case 14-14846-RAM .Doc17 Filed 03/28/14 Page 16 of 22

B6F (Official Form 6F) (12/07) - Cont.

In re Juana Marquez

Case No. 14-14846

 

SCHEDULE F - CREDITORS HO

Debtor

(Continuation Sheet)

LDING UNSECURED NONPRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(Report on Summary of Schedules)

 

 

CREDIT OR'SN AME ; g ‘| Husband, Wife, Joint, or Community S u D
; D NIL Is
IO TUDING ZIP CODE EW DATE CLAIM WAS INCURRED AND | F |] §
: CONSIDERATION FOR CLAIM. IF CLAIM
AND ACCOUNT NUMBER ol IS SUBJECT TO SETOFF, SO STATE. = |6|1. |e | AMOUNT OF CLAIM
(See instructions above.) Ric E|lp{b
: NIA
Account No. XxXXXXXXXXXX3548 Opened 1/01/06 Last Active 2/22/06 ae
Unsecured D
Wachrl
Pob 3117 -
Winston Salem, NC 27102
0.00
Account No. XXXXXXXXXXx8742 Opened 1/20/06 Last Active 5/09/08
. Real Estate Mortgage .
Wachrl
Pob 3117 ; -
Winston Salem, NC 27102
0.00
Account No, XXXXXXXXXXXx5297 Opened 10/01/06 Last Active 7/10/07
Credit Card
Wash Mutual/providian/Chase
Attn: Bankruptcy Dept -
Po Box 15298
Wilmington, DE 19850
0.00
Account No.
Account No.
Sheetno. 5 of 5 sheets attached to Schedule of Subtotal 0.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) “
Total
4,975.00

 

Best Case Bankruptcy

 
Case 14-14846-RAM Doc 17 Filed 03/28/14 Page 17 of 22

B6G (Official Form 6G) (12/07)

In re Juana Marquez ; .Case No. 14-14846
oo Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases:of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child's parent‘or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

@i Check this box if debtor has no executory contracts or unexpired leases.

Name and Mailing Address, Including Zip Code, Description of Contract or Lease and Nature of Debtor's Interest.

tate whether lease is for nonresidential real property.
of Other Parties to Lease or Contract State contract number of any government contract.

 

continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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Case 14-14846-RAM Doc17 Filed 03/28/14 Page 18 of 22

B6H (Official Form 6H) (12/07)

In re Juana Marquez ; Case No. 14-14846
Debtor

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used

_.. by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,

state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
Ml Check this box if debtor has no codebtors. .

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

0
continuation sheets attached to Schedule of Codebtors

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Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 19 of 22

Fill in.this information:to identify your case:

   
   

Debtor 1 Juana Marquez

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

Case number 14-14846 Check if this is:

(If known) O Anamended filing

O A supplement showing post-petition chapter
13 income as of the following date:

Official Form B 6l MMTDDIYYYY a
Schedule I: Your Income 12113

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On.the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 

 

 

 

information. a: : 10!
if you have more than one job, C1 Employed C1 Employed

: Employment status .
attach a separate page with ploym HE Not employed C1 Not employed
information about additional .
employers. Occupation

 

Include part-time, seasonal, or

self-employed work. Employer's name

 

Occupation may include student Employer's address

or homemaker, if it applies.

 

How long employed there?
Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your nor-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 § 0.00 $ N/A
3. Estimate and list monthly overtime pay. 3. +6 0.00 +$ N/A
4. Calculate gross Income. Add line 2 + line 3. 4.1% 0.00 $ N/A

 

 

 

 

 

“-*- Official'Form’B 61° : . '> Schedule I: Your Income page | .
Case 14-14846-RAM Doci7_ Filed 03/28/14 Page 20 of 22

Debtori Juana Marquez : Case number (ifknown) 14-14846

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy line 4 here 4.
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions _ 5a. $ 0.00 $ N/A
5b. Mandatory contributions for retirement plans Sb. §$ 0.00 $ N/A
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $ N/A
5d. Required‘repayments of retirement fund loans - Sd. §$ 0.00 §$ N/A
5e. Insurance 5e.  § 0.00 §$ NIA
5f. Domestic support obligations — a of § 0.00 =$. N/A
5g. Union dues 5g. $ 0.00 $ N/A
5h. Other deductions. Specify: 5h.t §$ 0.00 + $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 =6§ 0.00 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 = §$ 0.00 $ NIA
List all other income regularly received:
8a. Net income from rental property and from operating a business,
- profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total :
monthly net income. 8a. § 0.00 $ N/A
' . 8b. Interest and dividends 8b. $ 0.00 §$ _N/A
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8. $ 1,000.00 , $ N/A
8d. Unemployment compensation 8d.  §$ 0.00 $ N/A
8e. Social Security ! 8e. § 453.67 $ N/A
8f. Other government assistance that you regularly receive
. Include cash assistance and the value (if known) of any non-cash assistance
i that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Food Stamps _ sf. §$ 189.00 &$ N/A
8g. Pension or retirement income . ‘ 8g. $ 0.00 «6$ NIA
8h. Other monthly income. Speaiy Rent . 8h.t+ $ 500.00 + $ N/A
Rent ° : $ 500.00 $ N/A
9. Add all other income. Add lines Ba+8b+Bor8d+Ber8i+8g+8h. 9. {$ 2,642.67| |$. NIA
10. Calculate monthly i income: Add- line 7 +lineQ: - | - Fe eed 10. | $ 2,642.67 | +/$ - N/A|=|$ 2,642.67
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-fi iling spouse.
‘11. State all other regular contributions to the expenses that you list in Schedule J.
--. Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included ir in lines 2- 10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: : : 11. +$ 0.00
12. Add the amount in the last: column of line 10 to the amount in line 11. The result is the combined monthly income.
-, . Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it .
applies $ 2,642.67
i Combined
: : 3 monthly income
13.: Do you’expect an increase or decrease within the year after you file this form?
a No.
oO Yes. Explain: | |
‘>> Official Form‘B6l > . _Schedule I: Your Income page 2

 

 
Case 14-14846-RAM Doc17 Filed 03/28/14 Page 21 of 22

Fill in this information to identify your case:

 

 

 

 

 

Debtor 1 Juana Marquez Check if this is:

. a (1 An amended filing
Debtor 2 : __. : CI. A supplement showing post-petition chapter 13
(Spouse, if filing) - : expenses as of the following date:
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA MM /DD/YYYY
Case number _14-14846 . Cl A separate filing for Debtor 2 because Debtor 2
(If known) . coe - ‘ maintains a separate household

 

 

Official Form B 63
Schedule J: Your Expenses 12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ees une es Describe Your Household
1. Is this a joint case?

No. Go to line 2.
CI Yes. Does Debtor 2 live in a separate household?

ONo
D Yes. Debtor 2 must file a separate Schedule J.

2. Doyouhave dependents? MH No

 

 

 

 

 

Do not list Debtor 1 and CI Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor2. each dependent........:.. Debtor 1 or Debtor 2 age live with you?
Do not state the dependents’ , St O1No
names. Sos / Yes
, CNo
0 Yes
ONo
D Yes
C1 No
O Yes
3. Do your expenses include Bo

expenses of people other than oO

yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses :

'-;, Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

- expenses. as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date. ,

“Include expenses paid for with non-cash government assistance if you know the value of
---suchassistance and have included it on Schedule I: Your Income (Official Form 61.)

 

4, >--Fhe- rental or home ownership expenses for your residence. Include first mortgage payments :
and any rent for the ground or lot. ; ; 4. $ 0.00

If not included in line 4:

 

 

 

 

4a. Real estate taxes a) 4a. $ 0.00
4b. Property, homeowner’s, or renter’s insurance Y 4b. §$ 0.00
4c. | Home maintenatice, repair, and upkeep expenses } 4c. § ‘0.00
4d. | Homeowner’s association or condominium dues =) 4d. §$ 0.00
' 5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

: Official Form B 6J 3. Schedule J: Your Expenses / page 1
Case 14-14846-RAM Doc17_ Filed 03/28/14 Page 22 of 22

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor! Juana Marquez Case number (if known) 14-14846
6. Utilities: /
6a. _ Electricity, heat, natural gas . 6a. $ 0.00
6b, Water, sewer, garbage collection 6b. $ 0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. § 50.00
6d. Other. Specify: - Grass : - 6d. § 70.00
7. Food and housekeeping supplies 7. $ 0.00
8. Childcare and children’s education costs / «8S 0.00
9. Clothing, laundry, and dry cleaning oe 9. $ 0.00
10. Personal care products and services / 10. $ 0.00
il. Medical and dental expenses oe 11. §$ 150.00
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 0.00
13. Entertainment, clubs, recreation, newspapers, magazines, ‘and books 13. $ 0.00
14. Charitable contributions and religious donations cos ; 14, §$ 15.00
15. Insurance.
Do not include insurance deducted from your pay or included i in lines 4 or 20.
15a. Life insurance ° . 15a. $ 0.00
_ 15b. Health insurance -15b. $ 0.00
15c. Vehicle insurance 15ce. $ 0.00
15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
17b. Car payments for Vehicle 2 ; 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: ; 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
from your pay on line 5, Schedule I, Your Income (Official Form 61). .§ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00
Specify: , 19,
20. _Other real property expenses not included in vines 4 or 5 of this form or on 1 Schedule I: Your Income. .
20a. Mortgages on other property : 20a. $ 0.00
20b. Real estate taxes: “3 , °20b. $ 0.00
20c. Property, homeowner’s, or renter’s insurance ' 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 8 20d. $ 0.00
20e. Homeowner’s association or condominium dues + 20e. $ 0.00
21. Other: Specify: , “oy 21. +$ 0.00
22.. Your monthly expenses.’Add lines 4 through 21. - ‘ 22.) $ : 285.00
The result is your monthly expenses. ! em
23. Calculate your monthly net income. So : uy
23a. Copy line 12 (your combined monthly income) from Schedule I 23a. $ oe 2,642.67
23b. Copy your monthly expenses, from line 22 above, - 23b. -$ 285.00
23c. Subtract your month expenses from your monthl. income, ‘ , : : ‘
The result i is your monthly net income. ot . : 1 23c. | $ 2,357.67

 

 

 

+24. ~Do you expect an increase or decrease in your expenses within the year after you file this form?
‘- For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
your mortgage?

ME No.

 

C1 Yes. Explain: | . !

’ Official Form B6J . »-Sehedule J: Your Expenses . : page 2
